








				










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00519-CR

____________


JOHNEL LEWIS, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 337th District Court 

Harris County, Texas

Trial Court Cause No. 1132584






MEMORANDUM  OPINION

	We lack jurisdiction to hear this appeal.  Appellant, Johnel Lewis, pleaded
guilty to the offense of bail jumping and failure to appear, and, in accordance with his
plea bargain agreement with the State, the trial court sentenced appellant to
confinement for two years.  Along with the plea, appellant, appellant's counsel, and
the State signed a stipulation of evidence which included, among others, the
following statements: "I intend to enter a plea of guilty and understand that the
prosecutor will recommend that my punishment should be set at two years TDC
concurrent with 1081716; I agree to that recommendation...Further, I waive my right
of appeal which I may have should the court accept the foregoing plea bargain
agreement between myself and the prosecutor."  The trial court's judgment is
stamped, "Appeal waived.  No permission to appeal granted."  

	 After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court's permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a  pro se notice of appeal.  This
appeal followed.

	We conclude that the certification of the right of appeal filed by the trial
court is supported by the record and that appellant has no right of appeal due to the
agreed plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of
appeal, we  must dismiss this appeal "without further action." Chavez v. State, 183
S.W.3d 675, 680 (Tex. Crim. App. 2006).

	

	Accordingly, the appeal in Trial Court Cause Number 1132584 is dismissed
for lack of jurisdiction.

	Any pending motions are denied as moot.

PER CURIAM


Panel consists of Justices Nuchia, Alcala, and Hanks.

Do not publish. Tex. R. App. P. 47.2(b).


